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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: ______________________



                                                                  JURY TRIAL DEMANDED

 ALAN DERSHOWITZ

               Plaintiff,
 vs.

 CABLE NEWS NETWORK, INC.

            Defendant.
 ________________________________________/


                                        COMPLAINT

        Plaintiff, ALAN DERSHOWITZ, by and through the undersigned counsel, sues

 defendant CABLE NEWS NETWORK, INC., and states as follows.

                                   JURISDICTION AND VENUE

        1.     Jurisdiction for this cause of action lies within this court by virtue of 28 USC

 1332. This is an action for defamation and the parties are diverse in citizenship.

        2.     Plaintiff, ALAN DERSHOWITZ, is a citizen and resident of the State of

 Florida.

        3.     CABLE NEWS NETWORK, INC. (hereinafter CNN), is a corporation based

 and operating in the State of Georgia and is therefore diverse in citizenship to Alan

 Dershowitz by virtue of 28 USC 1332 (c)(1).

        4.     The amount of damages sought in this cause of action is $50,000,000 in

 compensatory damages and $250,000,000 in punitive damages, thus meeting the

 requirements of 28 USC 1332 (a).
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        5.     Venue is proper in the Southern District of Florida for the following reasons:

        a)     The tort which is the basis of this lawsuit was committed in South Florida in

 addition to all over the world. South Florida has a population of approximately 10 million

 people, thus making the alleged defamatory statements in this venue significant.

        b)     Plaintiff is a resident of South Florida and is domiciled in South Florida.

        c)     CNN does business in South Florida and has registered in Florida as a

 foreign corporation and voluntarily chose to have its registered agent in Broward County,

 which is where this court is based.

                               COUNT ONE – DEFAMATION
                                 (SLANDER AND LIBEL)


        6.     On January 27, 2020, plaintiff represented the President of the United States

 in the impeachment trial before the United States Senate.          On January 29, 2020, in

 response to a question posed by Senator Ted Cruz, plaintiff delivered a brief response in

 which he said that the constitution does not support an impeachment of a president simply

 because a lawful action taken by a president might have been based in small part to or to

 some degree on a desire to be reelected and if the president believes his reelection is in

 the public interest. This argument was being made in rebuttal to the house managers’

 claim that a president can be impeached and removed from office if he takes any action

 whatsoever that is motivated by any percentage or any degree of desire to be reelected,

 no matter how minimal.

        7.     The relevant part of plaintiff’s argument which serves as the basis of this

 cause of action was the following:

      “The only thing that would make a quid pro quo unlawful is if the quo were
      somehow illegal. Now we talk about motive. There are three possible
      motives that a political figure could have. One, a motive in the public interest
      and the Israel argument would be in the public interest. The second is in his
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      own political interest and the third, which hasn’t been mentioned, would be
      his own financial interest, his own pure financial interest, just putting money
      in the bank. I want to focus on the second one for just one moment. Every
      public official that I know believes that his election is in the public interest
      and, mostly you are right, your election is in the public interest, and if a
      president does something which he believes will help him get elected in the
      public interest, that cannot be the kind of quid pro quo that results in
      impeachment."

      Video link to the above excerpt: https://youtu.be/6efQaNZVc-A

        It is clear therefore, that Professor Dershowitz expressly stated that a president

 could be impeached and removed from office if what he did was “somehow illegal,”

 regardless of his motive to be reelected.

      8.       Shortly after that argument was presented before the Senate, CNN then

 went to work by assembling panels for programming throughout the day in which the

 hosts shared only this part of Professor Dershowitz’s argument…


      “Every public official that I know believes that his election is in the public
      interest and, mostly you are right, your election is in the public interest, and if
      a president does something which he believes will help him get elected in the
      public interest, that cannot be the kind of quid pro quo that results in
      impeachment."

        Following the airing of that clip over and over again, the hosts, together with their

 panel guests, including CNN employees and paid commentators, exploded into a one-

 sided and false narrative that Professor Dershowitz believes and argued that as long as

 the President believes his reelection is in the public interest, that he could do anything

 at all – including illegal acts – and be immune from impeachment. The very notion of

 that was preposterous and foolish on its face, and that was the point: to falsely paint

 Professor Dershowitz as a constitutional scholar and intellectual who had lost his mind.

 With that branding, Professor Dershowitz’s sound and meritorious arguments would

 then be drowned under a sea of repeated lies. With that portion of Professor

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 Dershowitz’s words played without his words that preceded that sentence, it was an

 easy sell to CNN’s viewers that the respected Alan Dershowitz believed that the

 President of the United States could commit illegal acts as long as he thought it would

 help his reelection and that his reelection was in the public interest, even though it was

 the opposite of what he said.     The only way to fool its viewers into believing that

 Professor Dershowitz actually said and meant what the CNN hosts and panel guests

 knew was the exact opposite of what he said was to deliberately omit: “the only thing

 that would make a quid pro quo unlawful is if the quo were somehow illegal.”

        9.     Without question, CNN understood that allowing its viewers to hear those

 words spoken immediately before CNN’s selected video portion, would cause its

 viewers to categorically reject the conclusions of its hosts and panel guests. In fact, no

 panel guest would have even considered embarrassing himself or herself on national

 television with their false conclusions had the video clip properly included the part where

 Professor Dershowitz unequivocally and unambiguously stated that an illegal act would

 prevent a quid pro quo from being lawful. The phrase that included the word “illegal”

 was an essential part of his argument, and that is precisely why CNN decided to omit it.

 It is evident that the decision to omit the portion in question was no accident or simple

 negligence on the part of CNN. Immediately after Professor Dershowitz presented his

 argument, CNN employees, Wolf Blitzer and Jake Tapper, played the entire clip

 properly, so CNN knew for certain that Professor Dershowitz had prefaced his remarks

 with the qualifier that a quid pro quo could not include an illegal act. That portion then

 disappeared in subsequent programming.

        10.    Such conduct is in direct violation of law and outside first amendment

 protection. The Supreme Court made this clear in Masson v. New Yorker Magazine,

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 Inc., 501 U.S. 496 (1991), where the Court held that a media organization can be held

 liable for damages when it engages in conduct that changes the meaning of what a

 public figure has actually said. While Masson involved the use of quotation marks to

 falsely attribute words to Jeffrey Masson, the law that the case created is broad, and

 unequivocally denies first amendment protections to a media organization that takes

 deliberate and malicious steps to change the meaning of what a public figure has said.

 That is exactly what CNN did when it knowingly omitted the portion of Professor

 Dershowitz’s words that preceded the clip it played time and time again. CNN’s hosts

 and panelists knew that the selective editing of the tape and the elimination of Professor

 Dershowitz’s words declaring that an illegal act would make a quid pro quo unlawful,

 would allow them to pretend that Professor Dershowitz had said the exact opposite of

 what he had argued on the Senate floor.

        11.    The decision to omit the crucial word “illegal” from Professor Dershowitz’s

 argument had the functional equivalency of doctoring the recording because it had the

 practical effect of reversing the meaning. When a network sets in motion a deliberate

 scheme to defraud its own audience and does so at the expense of another’s

 reputation, Masson recognizes that such behavior is actionable.

        12.    The aftermath of that barrage of defamatory programming was its ripple

 effect throughout the entire media industry. From other news outlets, to talk show hosts

 and social media trends, CNN’s deliberately false narrative spread like a disease, with

 each other forum replaying solely that portion of the tape and mimicking CNN’s

 malignant conclusion that Alan Dershowitz believes that a president could commit

 crimes and escape impeachment as long as he subjectively believes it is in the nation’s

 interest that he be reelected.

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       13.    The damage to Professor Dershowitz’s reputation does not have to be

 imagined. He was openly mocked by most of the top national talk show hosts and the

 comments below CNN’s videos show a general public that has concluded that Professor

 Dershowitz had lost his mind. All of these impressions were the direct result of CNN

 intentionally misleading its viewers and hiding the truth from their eyes and ears. A few

 egregious examples are those of Joe Lochhart and John Berman, stating the following

 after airing only the chosen snippet of the video and Paul Begala in written form after

 omitting the part of the argument that said that illegal acts were impeachable:


       "Having worked on about a dozen campaigns, there is always the sense
       that, boy, if we win, it's better for the country. But that doesn’t give you
       license to commit crimes or to do things that are unethical. So, it was
       absurd. What I thought when I was watching it was this is un-American.
       This is what you hear from Stalin. This is what you hear from Mussolini,
       what you hear from authoritarians, from Hitler, from all the authoritarian
       people who rationalized, in some cases genocide, based what was in the
       public interest.” – Joe Lochhart @ 7:11 p.m., January 29, 2020.

       “The President’s defense team [Dershowitz] seems to be redefining the
       powers of the President, redefining them towards infinity.” . . . [out of
       context video snippet then played]. . . then Berman continues… “If you
       look at what he says there it blows your mind. He says if a President is
       running for re-election because he thinks getting elected will help America,
       he can do anything, anything. And that redefines the presidency and
       America.” – John Berman @ 6:17 a.m., January 30, 2020.

       “I did not go to Harvard Law, but I did go to the University of Texas School
       of Law, where I studied criminal law and constitutional law, but never
       dreamed a legendary legal mind would set them both ablaze on the
       Senate floor. The Dershowitz Doctrine would make presidents immune
       from every criminal act, so long as they could plausibly claim they did it to
       boost their re-election effort. Campaign finance laws: out the window.
       Bribery statutes: gone. Extortion: no more. This is Donald Trump's fondest
       figurative dream: to be able to shoot someone on Fifth Avenue and get
       away with it.” Paul Begala on CNN.COM, January 29, 2020 @ 9:11 p.m.

       14.    Professor Dershowitz was one of the most revered and celebrated legal

 minds of the past half century. His reputation relating to his expertise in criminal and

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 constitutional matters was one that lawyers would only dream about attaining in their

 lifetimes. However, Professor Dershowitz appears to have made one mistake. He

 chose to defend the President of the United States and defend the U.S. Constitution at

 moment in time where CNN has decided that doing so is not permitted. For this, CNN

 set out to punish him and destroy his credibility and reputation, and unfortunately,

 succeeded.

        15.    Due to the overwhelming vastness of its broadcasts, CNN caused

 substantial damage to Professor Dershowitz by irreparably harming his reputation.

        16.    The defamatory statements CNN published were made by each person

 knowing that what they were stating was false, and in the alternative, those making the

 statements acted with reckless disregard for the truth or falsity of their statements.

        17.    The defamatory statements made by each commentator were made in the

 course and scope of their employment relationship and/or agency relationship with

 CNN, thus making CNN vicariously liable for any and all damages resulting from each

 commentator’s tortious conduct, in addition to CNN being directly liable for the

 publication of false statements and for its failure to exercise due care to prevent the

 publication or utterance of such statements.

        18.    CNN’s decision to omit the part of plaintiff’s argument in which he

 prefaced his upcoming remarks with the fact that it did not apply to illegal acts, was

 done intentionally and deliberately with knowledge and malice to facilitate its ability to

 falsely claim that plaintiff said the opposite of what he actually said.

        19.    As a direct and proximate result of CNN’s defamatory actions, plaintiff has

 suffered and continues to suffer damage, including, but not limited to, damage to his




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 reputation, embarrassment, pain, humiliation, mental anguish, and has sustained past

 and future loss of earnings.

       20.      CNN knew that its statements were false at the time the statements were

 made or had serious doubts about their truth, and nonetheless, made and/or published

 the statements with an intent to indulge ill will, hostility, and an intent to harm, thus

 giving rise to the right to recover punitive damages in order to deter CNN from engaging

 in this conduct in the future and hopefully restore integrity to both CNN and the media

 as a whole.



       WHEREFORE, plaintiff demands:

       a) Judgment against the defendant in the amount of Fifty Million Dollars

             ($50,000,000) as compensatory damages.

       b) Two Hundred and Fifty Million Dollars ($250,000,000) as punitive damages.

       c) All taxable litigation costs, pre-judgment interest and post-judgment interest.

       d) A trial by jury.




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